Defendant seeks a reconsideration of the Order entered by the Full Commission on October 31, 1994. Plaintiff had filed a motion with the Industrial Commission on September 30, 1994, to which the Full Commission's Order was responsive.  As of the date of the filing of the Order, defendant made no response to plaintiff's motion, either to plaintiff's counsel or to the Industrial Commission.  In fact, by letter dated August 3, 1994, plaintiff's counsel specifically asked the defendant to furnish a figure of the amount defendant alleges it paid plaintiff pursuant to the June 17, 1994 Opinion and Award for the Full Commission.  There having been no response whatsoever, the Industrial Commission had no way of knowing the defendant's position, and in its discretion determined that the defendant's lack of response indicated a concurrence with the position held by the plaintiff.  Therefore, acting in its discretion, the Full Commission entered the October 31, 1994 Order.
Upon review of the file in this case, especially taking into consideration the defendant's failure to respond to the plaintiff's motion, the undersigned has determined there has been no abuse of discretion on the part of the Full Commission, and that the October 31, 1994 Order was appropriately and properly entered.
Therefore, for the foregoing reasons, defendant's motion for a reconsideration is accordingly HEREBY DENIED.
This the ___________ day of ___________________, 1994.
FOR THE FULL COMMISSION
                                  S/ _____________ JAMES J. BOOKER COMMISSIONER
JJB:alp 11/9/94